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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

CALVIN HARDEN,                                       )
                                                     )
                             Plaintiff,              )
                                                     )
                        v.                           )       No. 1:19-cv-00161-TWP-DLP
                                                     )
THOMAS OPIE, et al.                                  )
                                                     )
                             Defendants.             )

                        Order Directing Response to Motion to Compel
                         and Granting Motion for Extension of Time

       The plaintiff shall have through June 14, 2019, in which to respond to the defendants’

discovery requests and respond to the defendants’ motion to compel.

       The defendants’ motion for extension of time, dkt. 20, is granted insofar as the defendants

shall have through June 26, 2019, to either file a dispositive motion in support of the exhaustion

defense, file a notice with the Court specifically identifying the fact issue(s) that preclude

resolution of this affirmative defense and requesting a Pavey hearing, or file a notice with the Court

withdrawing the exhaustion defense.

       IT IS SO ORDERED.


     Date: 5/28/2019

                                                           ________________________
                                                           Hon. Tanya Walton Pratt, Judge
                                                           United States District Court
Distribution:                                              Southern District of Indiana

CALVIN HARDEN
230560
PENDLETON - CF
PENDLETON CORRECTIONAL FACILITY
Electronic Service Participant – Court Only
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